Case 5:18-cv-00166-JPB Document 1 Filed 10/03/18 Page 1 of 10 PageID #: 1



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                                                           5:18-cv-166 (Bailey)
Case 5:18-cv-00166-JPB Document 1 Filed 10/03/18 Page 2 of 10 PageID #: 2
Case 5:18-cv-00166-JPB Document 1 Filed 10/03/18 Page 3 of 10 PageID #: 3
Case 5:18-cv-00166-JPB Document 1 Filed 10/03/18 Page 4 of 10 PageID #: 4
Case 5:18-cv-00166-JPB Document 1 Filed 10/03/18 Page 5 of 10 PageID #: 5
Case 5:18-cv-00166-JPB Document 1 Filed 10/03/18 Page 6 of 10 PageID #: 6
Case 5:18-cv-00166-JPB Document 1 Filed 10/03/18 Page 7 of 10 PageID #: 7
Case 5:18-cv-00166-JPB Document 1 Filed 10/03/18 Page 8 of 10 PageID #: 8
Case 5:18-cv-00166-JPB Document 1 Filed 10/03/18 Page 9 of 10 PageID #: 9
Case 5:18-cv-00166-JPB Document 1 Filed 10/03/18 Page 10 of 10 PageID #: 10
